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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

 

UNITED STATES OF AMERICA,

v. Criminal No. 18-323

ABJ/DAR
WILLIAM J. PHINIZY,

Defendant. F I L E D

OCT 3 l 2018

Clerk, U.S. District and
ORDER Bankruptcy Cou rts

 

 

On October 31, 2018, Defendant appeared before the undersigned for an arraignment and
detention hearing following the forensic screening ordered by the undersigned during Defendant’s
initial appearance on October 25, 2018. See Order (ECF No. 3). The District of Colurnbia
Department of Behavioral Health completed the examination and furnished a competency
screening examination report on October 30, 2018.

Upon consideration of the oral motion made by the United States and the forensic
evaluation report conducted by the Department of Behavioral Health on October 30, 2018, it is,
this 31St day of October, 2018,

ORDERED, in accordance with the provisions of 18 U.S.C. §§ 4241, 4247(b), and Local
Criminal Rule 57.17(a)(l4), that Defendant is committed to the custody of the Attorney General
of the United States for placement in a suitable facility for a period not to exceed thirty days for a
determination of whether he is presently suffering from a mental disease or defect rendering him
mentally incompetent to the extent that he is unable to understand the nature and consequences of

the proceedings against him; and it is

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FURTHER ORDERED that the warden of the facility shall flle a report of said
examination pursuant to the provisions of 18 U.S.C. § 4247(¢); and it is

FURTHER ORDERED that a status hearing is scheduled for 1230 p.m. on Thursday,

// Di§BoRAH A. RoBrNSoN

// United States Magistrate Judge

January 3, 2019.

 

